       Case 1:22-cv-01294-AT Document 46 Filed 04/12/22 Page 1 of 3




        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                 ATLANTA DIVISION

Marjorie Taylor Greene,
                                       Case No. 1:22-cv-1294-AT
       Plaintiff,

 vs.
                                        Notice to the Court
Brad Raffensperger, in his
official capacity as Secretary of
State of the State of Georgia, et
al.,

       Defendants,

and

David Rowan, et al.,

       Intervenor Defendants.


       The Rowan Intervenors respectfully submit this notice to the

Court regarding the status of the ongoing proceeding challenging

Representative Greene’s qualifications before the Office of State

Administrative Hearings. The hearing in that matter is now set for

Friday, April 22, at 9:30 a.m.
      Case 1:22-cv-01294-AT Document 46 Filed 04/12/22 Page 2 of 3




Respectfully submitted this 12th day of April, 2022.

/s/ Bryan L. Sells
Georgia Bar No. 635562
The Law Office of Bryan L. Sells, LLC
PO Box 5493
Atlanta, Georgia 31107-0493
Telephone: (404) 480-4212
Email: bryan@bryansellslaw.com

Ronald Fein*
John C. Bonifaz*
Ben Clements*
Courtney Hostetler*
Benjamin Horton*
FREE SPEECH FOR PEOPLE
1320 Centre St. #405
Newton, MA 02459
(617) 244-0234
rfein@freespeechforpeople.org
Jonathan S. Abady*
Andrew G. Celli, Jr.*
Sam Shapiro*
Andrew K. Jondahl*
EMERY CELLI BRINCKERHOFF ABADY WARD & MAAZEL LLP
600 Fifth Avenue, 10th Floor
New York, NY 10020
(212) 763-5000
jabady@ecbawm.com
acelli@ecbawm.com


Attorneys for the Rowan Intervenors


* Motions for admission pro hac vice pending



                                      2
      Case 1:22-cv-01294-AT Document 46 Filed 04/12/22 Page 3 of 3




                      Certificate of Compliance

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing document has been prepared in Century Schoolbook 13, a font

and type selection approved by the Court in L.R. 5.1(B).


                                        /s/ Bryan L. Sells
                                        Bryan L. Sells




                                    3
